Case 1:16-cv-03237-RDB Document 6 Filed 03/22/18 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

DANIEL SAUNDERS, On Behalf of
Himself and All Others Similarly Situated,

Plaintiff,

Case No. 1:16-cv-03237-RDB
¥.

FULL CIRCLE CAPITAL CORPORATION,
MARK C. BIDERMAN, EDWARD H.
COHEN, TERENCE FLYNN, THOMAS <A.
ORTWEIN, JOHN E. STUART, GREGG J.
FELTON, GREAT ELM CAPITAL CORP.,
GREAT ELM CAPITAL GROUP, INC., and
MAST CAPITAL MANAGEMENT, LLC,

Defendants.

PLAINTIFF'S NOTICE OF VOLUNTARY DISMISSAL

PLEASE TAKE NOTICE that, pursuant to Fed, R. Civ. P. 41(a)(1A)(i), plaintiff hereby

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voluntarily dismisses the above-captioned action (the “Action”) without prejudice. Defendants

have filed neither an answer nor a motion for summary judgment in the Action.

 

Dated: March 22, 2018 GOLDMAN & MINTON, P.C,
By: A i Ui i [ A

OF COUNSEL: Thomas J. Minton (Bar No. 03370)

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